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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. MJ-20-08217-001-PHX-JZB
10                 Plaintiff,                          ORDER
11   v.
12   Jill Marie Jones,
13                 Defendant.
14
15           Pending before the Court is Defendant’s “Motion to Continue Preliminary
16   Hearing, Detention Hearing, and Continuation of Initial Appearance Hearing on July 27,
17   2020.” (Doc. 3.) There being no objection, and after review, the Court will grant the
18   Motion.
19           Accordingly,
20           IT IS ORDERED:
21           1.    The Motion (Doc. 3) is granted.
22           2.    The July 27, 2020 Detention Hearing, Preliminary Hearing, and
23   Continuation of Initial Appearance are continued to August 3, 2020 at 2:00 p.m. before
24   Magistrate Judge Deborah M. Fine in courtroom 305.
25           No excludable delay shall occur from the entry of this Order.
26           Dated this 24th day of July, 2020.
27
28                                                Honorable John Z. Boyle
                                                  United States Magistrate Judge
